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“ ay _ The Honorable John C. Coughenour

   

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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. CR19-243 JCC
Plaintiff PLEA AGREEMENT
Vv.
NICHOLAS “NIKKI” ARMSTRONG,
Defendant.

 

 

The United States of America, by and through Brian T. Moran, United States
Attorney for the Western District of Washington, and Marie M. Dalton, Assistant United
States Attorney for said District, NICHOLAS “NIKKI” ARMSTRONG and her attorney,
Corey Endo, enter into the following Agreement, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B):

1. Waiver of Indictment. Defendant, having been advised of the right to be
charged by Indictment, agrees to waive that right and enter a plea of guilty to the charge
brought by the United States Attorney in an Information.

2. The Charges. Defendant, having been advised of the right to have this
matter tried before a jury, agrees to waive that right and enters a plea of guilty to the

following charges contained in the Information.

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a. Trafficking in Counterfeit Drugs, as charged in Counts 1, 2 and 3, in
violation of Title 18, United States Code, Section 2320(a)(4).

By entering a plea of guilty, Defendant hereby waives all objections to the form of
the charging document. Defendant further understands that before entering her guilty
plea, she will be placed under oath. Any statement given by Defendant under oath may
be used by the United States in a prosecution for perjury or false statement.

3. Elements of the Offense. The elements of the offense of Trafficking in
Counterfeit Drugs, as charged in Counts 1, 2, and 3, in violation of Title 18, United States

Code, Section 2320(a)(4), are as follows:

a. The defendant trafficked in a counterfeit drug;
b. The defendant knew the drug was counterfeit; and
C. Such trafficking was intentional.

4, The Penalties. Defendant understands that the statutory penalties

applicable to the offenses to which she is pleading guilty are as follows:
a. For each of the offenses of Trafficking in Counterfeit Drugs, as

charged in Counts 1, 2, and 3: A maximum term of imprisonment of up to 20 years, a
fine of up to $5,000,000, a period of supervision following release from prison of up to
three years, and a mandatory special assessment of $100 dollars. If a probationary
sentence is imposed, the probation period can be for up to five (5) years. Defendant
agrees that the special assessment shall be paid at or before the time of sentencing.

Defendant understands that supervised release is a period of time following
imprisonment during which she will be subject to certain restrictive conditions and
requirements. Defendant further understands that if supervised release is imposed and
she violates one or more of the conditions or requirements, Defendant could be returned
to prison for all or part of the term of supervised release that was originally imposed.
This could result in Defendant’s serving a total term of imprisonment greater than the

statutory maximum stated above.

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Defendant understands that as a part of any sentence, in addition to any term of
imprisonment and/or fine that is imposed, the Court may order Defendant to pay
restitution to any victim of the offense, as required by law. Defendant further
understands that a consequence of pleading guilty may include the forfeiture of certain
property either as a part of the sentence imposed by the Court, or as a result of civil
judicial or administrative process. Defendant agrees that any monetary penalty the Court
imposes, including the special assessment, fine, costs, or restitution, is due and payable
immediately and further agrees to submit a completed Financial Statement of Debtor
form as requested by the United States Attorney’s Office.

5. Rights Waived by Pleading Guilty. Defendant understands that by
pleading guilty, she knowingly and voluntarily waives the following rights:

a. The right to plead not guilty and to persist in a plea of not guilty;

b. The right to a speedy and public trial before a jury of her peers;

Cc. The right to the effective assistance of counsel at trial, including, if
Defendant could not afford an attorney, the right to have the Court
appoint one for Pin: we

d. The right to be presumed innocent until guilt has been established

beyond a reasonable doubt at trial;

e. The right to confront and cross-examine witnesses against Defendant
at trial;

f. The right to compel or subpoena witnesses to appear on her behalf at
trial;

g. The right to testify or to remain silent at trial, at which trial such

silence could not be used against Defendant; and
h. The right to appeal a finding of guilt or any pretrial rulings.
6. Ultimate Sentence. Defendant acknowledges that no one has promised or

guaranteed what sentence the Court will impose.

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7. Forfeiture of Assets. Defendant agrees to forfeit to the United States
immediately Defendant’s right, title, and interest in any and all property, real or personal,
that was used, or intended to be used, in any manner or part, to commit, or facilitate the
commission, of that offense, and also shall forfeit any property constituting, or derived
from, any proceeds obtained, directly or indirectly, as a result of the commission of that
offense, including but not limited to a judgment for a sum of money representing the
property described in this paragraph.

8. Statement of Facts. The parties agree on the following facts. Defendant
admits she is guilty of the charged offenses:

a. From at least June 2018, ARMSTRONG sold counterfeit Xanax,
along with other products, on the dark web, including on Wall St. Market, Empire
Market, and Nightmare Market. On these marketplaces, ARMSTRONG advertised
Xanax bars, displaying pictures of pills imprinted with the word Xanax. Among other
dates, on or about March 4, 2019, April 24, 2019, and May 14, 2019, ARMSTRONG
sold pills advertised as Xanax bars to her customers, accepting cryptocurrency for
payment, and delivering those pills by shipping them through the mail. In total, on the
dark web, ARMSTRONG sold more than 19,000 pills that were advertised as 2 mg
Xanax bars, 1,500 pills that were advertised as 4 mg Xanax bars, and 25 pills that were
advertised as 4 mg Xanax bars.

b. Although ARMSTRONG advertised these pills as Xanax bars, and
the pills contained many of the same attributes of Xanax bars (including their size, shape,
and Xanax imprint), ARMSTRONG knew they were counterfeit. The Xanax bars that
ARMSTRONG sold were not produced by Pfizer Pharmaceuticals, which manufactures
Xanax. Instead, ARMSTRONG intentionally sold counterfeit Xanax, which was created
by ARMSTRONG using a pill press and a drug that is chemically related to Xanax, but
which is not scheduled or trademarked. In addition to the Xanax pills sold online,
ARMSTRONG possessed an additional 106.6 grams of powder in her home that she
intended to press into Xanax bars and sell on the dark web. In total, ARMSTRONG
earned, and if the powder were pressed would have earned, at least $70,000 from selling
counterfeit Xanax.

c. The parties agree that the Court may consider additional facts
contained in the Presentence Report (subject to the standard objections by the parties)
and/or that may be presented by the United States or the Defendant at the time of
sentencing, and that the factual statement contained herein is not intended to limit the

facts that the parties may present to the Court at the time of sentencing.

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9. United States Sentencing Guidelines. Defendant understands and
acknowledges that the Court must consider the sentencing range calculated under the
United States Sentencing Guidelines and possible departures under the Sentencing
Guidelines together with the other factors set forth in Title 18, United States Code,
Section 3553(a), including: (1) the nature and circumstances of the offenses; (2) the
history and characteristics of the defendant; (3) the need for the sentence to reflect the
seriousness of the offenses, to promote respect for the law, and to provide just
punishment for the offenses; (4) the need for the sentence to afford adequate deterrence to
criminal conduct; (5) the need for the sentence to protect the public from further crimes
of the defendant; (6) the need to provide the defendant with educational and vocational
training, medical care, or other correctional treatment in the most effective manner; (7)
the kinds of sentences available; (8) the need to provide restitution to victims; and (9) the
need to avoid unwarranted sentence disparity among defendants involved in similar
conduct who have similar records. Accordingly, Defendant understands and
acknowledges that:

a. The Court will determine applicable Defendant’s Sentencing
Guidelines range at the time of sentencing;

b. After consideration of the Sentencing Guidelines and the factors in
18 U.S.C. 3553(a), the Court may impose any sentence authorized by law, up to the
maximum term authorized by law;

c. The Court is not bound by any recommendation regarding the
sentence to be imposed, or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Department, or by any
stipulations or agreements between the parties in this Plea Agreement; and

d. Defendant may not withdraw her guilty pleas solely because of the

sentence imposed by the Court.

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10. Acceptance of Responsibility. At sentencing, ifthe district court
concludes Defendant qualifies for a downward adjustment acceptance for acceptance of —
responsibility pursuant to USSG § 3E1.1(a) and the defendant’s offense level is 16 or
greater, the United States will make the motion necessary to permit the district court to
decrease the total offense level by three (3) levels pursuant to USSG §§ 3E1.1(a) and (b),
because Defendant has assisted the United States by timely notifying the United States of
her intention to plead guilty, thereby permitting the United States to avoid preparing for
trial and permitting the Court to allocate its resources efficiently.

11. Sentencing Factors. The parties agree that the following Sentencing
Guidelines provisions apply to this case:

a. The base offense level is eight under USSG § 2B5.3(a);

b. A two-level increase under USSG § 2B5.3(b)(5) because the offense
involved counterfeit drugs; and

C. A six-level increase under USSG § 2B5.3(b)(1) because the
infringement amount exceeded $40,000.

The parties agree they are free to present arguments regarding the applicability of
all other provisions of the United States Sentencing Guidelines. Defendant understands,
however, that at the time of sentencing, the Court is free to reject these stipulated
adjustments, and is further free to apply additional downward or upward adjustments in
determining Defendant’s Sentencing Guidelines range.

12. Recommendation Regarding Imprisonment. Pursuant to Federal Rule of
Criminal Procedure 11(c)(1)(B), the United States agrees to recommend that the
appropriate term of imprisonment to be imposed by the Court at the time of sentencing is
twelve months and one day. Defendant remains free to recommend any sentence she
believes appropriate at sentencing.

Defendant understands that this recommendation is not binding on the Court and
the Court may reject the recommendation of the parties and may impose any term of

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imprisonment up to the statutory maximum penalty authorized by law. Defendant
further understands that she cannot withdraw her guilty plea simply because of the
sentence imposed by the district court. Except as otherwise provided in this plea
agreement, the parties are free to present arguments are regarding any other aspect of
sentencing.

13. Non-Prosecution of Additional Offenses. As part of this Plea Agreement,
the United States Attorney’s Office for the Western District of Washington agrees not to
prosecute Defendant for any additional offenses known to it as of the time of this
Agreement that are based upon evidence in its possession at this time, and that arise out
of the conduct giving rise to this investigation. In this regard, Defendant recognizes the
United States has agreed not to prosecute all of the criminal charges the evidence
establishes were committed by Defendant solely because of the promises made by
Defendant in this Agreement. Defendant agrees, however, that for purposes of preparing
the Presentence Report, the United States Attorney’s Office will provide the United
States Probation Office with evidence of all conduct committed by Defendant.

Defendant agrees that any charges to be dismissed before or at the time of
sentencing were substantially justified in light of the evidence available to the United
States, were not vexatious, frivolous or taken in bad faith, and do not provide Defendant
with a basis for any future claims under the “Hyde Amendment,” Pub.L. No. 105-119
(1997).

14. Breach, Waiver, and Post-Plea Conduct. Defendant agrees that if
Defendant breaches this Plea Agreement, the United States may withdraw from this Plea
Agreement and Defendant may be prosecuted for all offenses for which the United States
has evidence. Defendant agrees not to oppose any steps taken by the United States to
nullify this Plea Agreement, including the filing of a motion to withdraw from the Plea
Agreement. Defendant also agrees that if Defendant is in breach of this Plea Agreement,
Defendant has waived any objection to the re-institution of any charges in the Indictment

that were previously dismissed or any additional charges that had not been prosecuted.

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Defendant further understands that if, after the date of this Agreement, Defendant
should engage in illegal conduct, or conduct that violates any conditions of release or the
conditions of her confinement, (examples of which include, but are not limited to,
obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the Pretrial Services
Officer, Probation Officer, or Court), the United States is free under this Agreement to
file additional charges against Defendant or to seek a sentence that takes such conduct
into consideration by requesting the Court to apply additional adjustments or
enhancements in its Sentencing Guidelines calculations in order to increase the applicable
advisory Guidelines range, and/or by seeking an upward departure or variance from the
calculated advisory Guidelines range. Under these circumstances, the United States is
free to seek such adjustments, enhancements, departures, and/or variances even if
otherwise precluded by the terms of the plea agreement.

15.. Waiver of Appellate Rights and Rights to Collateral Attacks.
Defendant acknowledges that by entering the guilty plea(s) required by this plea
agreement, Defendant waives all rights to appeal from her conviction and any pretrial
rulings of the court. Defendant further agrees that, provided the court imposes a custodial
sentence that is within or below the Sentencing Guidelines range (or the statutory
mandatory minimum, if greater than the Guidelines range) as determined by the court at
the time of sentencing, Defendant waives to the full extent of the law:

a. Any right conferred by Title 18, United States Code, Section 3742,
to challenge, on direct appeal, the sentence imposed by the court, including any fine,
restitution order, probation or supervised release conditions, or forfeiture order (if
applicable); and

b. Any right to bring a collateral attack against the conviction and
sentence, including any restitution order imposed, except as it may relate to the

effectiveness of legal representation; and

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This waiver does not preclude Defendant from bringing an appropriate motion
pursuant to 28 U.S.C. § 2241, to address the conditions of her confinement or the
decisions of the Bureau of Prisons regarding the execution of her sentence.

If Defendant breaches this Plea Agreement at any time by appealing or collaterally
attacking (except as to effectiveness of legal representation) the conviction or sentence in
any way, the United States may prosecute Defendant for any counts, including those with
mandatory minimum sentences, that were dismissed or not charged pursuant to this Plea
Agreement. ,

16. Voluntariness of Plea. Defendant agrees that she has entered into this Plea
Agreement freely and voluntarily and that no threats or promises, other than the promises
contained in this Plea Agreement, were made to induce Defendant to enter her plea of
guilty.

17. Statute of Limitations. In the event this Agreement is not accepted by the
Court for any reason, or Defendant has breached any of the terms of this Plea Agreement,
the statute of limitations shall be deemed to have been tolled from the date of the Plea
Agreement to: (1) thirty (30) days following the date of non-acceptance of the Plea
Agreement by the Court; or (2) thirty (30) days following the date on which a breach of
the Plea Agreement by Defendant is discovered by the United States Attorney’s Office.

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18. Completeness of Agreement. The United States and Defendant
acknowledge that except as may be stated on the record during the plea colloquy in this
matter, these terms constitute the entire Plea Agreement between the parties. This
Agreement binds only the United States Attorney’s Office for the Western District of
Washington. It does not bind any other United States Attorney’s Office or any other
office or agency of the United States, or any state or local prosecutor.

Dated this 26" day of November, 2019.

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NICHOLAS “NIKKI” ARMSTRONG
Defendant

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COREY ENDO
Attorney for Defendant

___K\PHERYN FRIERSON
© Assistant United States Attorney

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MARIE M. DALTON
Assistant United States Attorney

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